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Exhibit B
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Authorized by the U.S. District Court for the District of Massachusetts

Notice of Revision to Proposed Class Action Settlement
Involving Certain Chemotherapy Drugs Sold by BMS

1. What Is This Notice About?

There is a Proposed Settlement of a class action lawsuit involving Bristol-Myers Squibb
(“BMS”) drugs Blenoxane®, Cytoxan®, Etopophos®, Paraplatin®, Rubex®, Taxol® and
Vepesid® (referred to as the “BMS Drugs”). The name of the lawsuit is Jn re-
Pharmaceutical Industry Average Wholesale Price Litigation, Docket No. 01-CV-12257-
PBS, MDL No, 1456.

You were mailed this Notice because you previously returned a Claim Card in response to
an earlier Notice that was sent to you. On the Claim Card, you indicated that you made a
percentage co-payment from January 1, 1991 through December 31, 2004 for a BMS Drug
under Medicare Part B.

This revised Notice informs you of changes in the terms of the Proposed Settlement. In sum,
the amount of money allocated to consumers has been increased, and the proposed
distribution has been altered to more closely track estimated damages for each individual
BMS Drug. You are receiving this Notice because our records indicate that your total
compensation across all settled BMS Drugs will be reduced under the Proposed Settlement
as revised,

2. What Are The Changes In The Terms Of The Proposed Settlement?

The Court considered the Proposed Settlement at a hearing held March 28, 2011. The Court
requested that the Proposed Settlement be modified to provide more money to consumers
and to base the distribution among the various consumers more closely on estimated
damages for each individual BMS Drug. Plaintiffs subsequently presented a revision to the
Court, which the Court approved on a preliminary basis.

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The total amount of money available to pay consumer claims, including those consumers
who participated in Medicare Part B and those who made a percentage co-payment or cash
payment for BMS Drugs outside of the Medicare Part B program, has been increased from
$4,370,000 to $5,370,000.

And the manner in which your payment will be calculated has changed. Under the previous
formula, the Claims Administrator would calculate your “Total Recognized Claim” by
adding two amounts:

» Payment obligations for Cytoxan®, Taxol® and Vepesid® from January 1, 1991
through December 31, 2004 multiplied by a factor of three (3x); and

» Payment obligations for Blenoxane®, Etopophos®, Paraplatin®, Rubex® inside
this time period (with no multiplication factor).

Your Total Recognized Claim will now be calculated differently. It will be based on the
Court’s findings from a prior trial against BMS in this same litigation and Plaintiffs’ expert’s
calculation of estimated overcharges associated with the alleged price inflation for the BMS Drugs.

Your Total Recognized Claim will now be determined according to a three step process:

1. For the drugs Cytoxan®, Taxol® and Vepesid®, the Claims Administrator will apply
the expert’s estimated overcharge percentage for all administrations during the
following years (years not indicated receive $0):

Cytoxan®: 1991-2004 Taxol®: 2002-2003 Vepesid®: 1993-1999, 2001-2004

2. The amounts determined in Step 1 will be doubled for the following drugs and years for
which the Court found liability in the prior trial: Cytoxan®, 1998-2002; Taxol®, 2002;
and Vepesid®, 1998-1999, 2001-2002.

3. In Step 3, a $50 payment will be allocated for all administrations of each of the following
drugs: Blenoxane®, Etopophos®, Paraplatin®, Rubex®. In addition, all Taxol®
administrations during the years 1991-2001 will also be allocated $50. The foregoing
payments are a flat $50 per drug, without regard to how many administrations you
received of the particular drug. For the foregoing drugs (and the time period indicated
for Taxol®), either the Court found no liability at the prior trial, or Plaintiffs’ expert
determined that there were no or very minimal alleged overcharges.

The sum of these figures will be your Total Recognized Claim. For those claimants whose
Total Recognized Claim sums to less than $50, the distribution formula steps them up to
$50, so that $50 becomes the minimum Total Recognized Claim for eligible claimants.
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If there is enough money based on the number of claims received, your payment will be
100% of your Total Recognized Claim. If there is not enough money to pay all consumers
100% of their Total Recognized Claims, each consumer’s claim will be reduced
proportionately.

If you are eligible to receive a payment, the net result of these changes to the Proposed
Settlement is that your payment will be lower than under the initial distribution formula.

The remaining terms of the Proposed Settlement remain unchanged. The Court has
determined that the above revision does not warrant a second “opt out” period in which class
members who declined to exclude themselves before should now be offered another chance
to do so. Accordingly, if the Proposed Settlement is finally approved as revised, you will be
bound by its terms.

3. May I Object To, Or Comment On, The Revision To
The Proposed Settlement?

Yes. If you have comments about, or disagree with, any aspect of the revision to the
Proposed Settlernent, you may express your views to the Court. You must do this in writing.
Your written response must include:

=" Your name, address, telephone number, a brief explanation of your reasons for
objection, and

« The case number (Civil Action Number: 01-CV-12257-PBS, MDL No. 1456).

The document must be signed to ensure the Court’s review. The response must be filed with
the Court at the following address on or before July 1, 2011: Clerk of Court, John
Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Suite 2300, Boston, Massachusetts
02210 and served on Counsel for the Parties so that the objection is received on or
before July 1, 2011 at the following addresses:

Counsel for the Class Counsel for BMS

Steve W. Berman Lyndon M. Tretter
Hagens Berman Sobol Shapiro LLP Hogan Lovells US LLP
1918 Eighth Avenue, Suite 3300 875 Third Avenue
Seattle, WA 98101 New York, NY 10022

In addition, your document must clearly state that it relates to the “BMS Settlement.” If you
file or present an objection, you will be subject to the jurisdiction of the Court.

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4. When And Where Will The Court Decide On Whether To Grant
Final Approval Of The Proposed Settlement?

The Court will hold a Hearing on July 7, 2011 at p.m. to consider whether it is fair,
reasonable and adequate. At the Hearing, the Court will also consider whether to approve
the Proposed Settlement; the request for attorneys’ fees and expenses; and any comments or
objections. You are not required to attend, but may do so at your own expense.

If you want your own lawyer instead of Class Counsel to speak at the Final Approval
Hearing, you must give the Court a paper that is called a “Notice of Appearance.” The Notice
of Appearance must include:

= Your name, address, telephone number, signature;

* The name, and number of the lawsuit (Civil Action Number: 01-CV-12257-PBS,
MDL No. 1456);

» State that you wish to enter an appearance at the Final Approval Hearing; and

»® Any documentation in support of such opposition.

Your Notice of Appearance must be filed with the Court on or before July 1, 2011 and
served on Counsel so that it is received on or before July 1, 2011.. You cannot speak at the
Hearing if you previously asked to be excluded from the Proposed Settlement Class. The
Notice of Appearance must be filed with the Court and served on Counsel at the addresses
set forth above in response to Question 3.

5. Where Do I Obtain More Information?

You may obtain more information, including a copy of the original Notice that was
previously mailed to you, by visiting the BMS AWP Settlement web site at
www.BMSAWPSettlement.com, by calling 1-877-690-7097, or by writing to:

BMS AWP Class] Settlement Administrator
P.O. Box 2364
Faribault, MN 55021-9064

DATED: May __, 2011 BY ORDER OF THE COURT

